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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE

LAURA CANADAY, individually and on     )
behalf of all others similarly situated,
                                       )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )                  Case No. 1:19-CV-01084-STA-jay
                                       )
THE ANTHEM COMPANIES, INC.,            )
                                       )
            Defendant.                 )
_______________________________________)

  JOINT STIPULATION OF DISMISSAL OF PLAINTIFFS CINDY HARRISON AND
                           KELLI SELLERS

       Plaintiff Laura Canaday (“Plaintiff”), individually and on behalf of all others similarly

situated, and Defendant The Anthem Companies, Inc. (“Defendant”), pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), respectfully submit this stipulation of dismissal of opt-in Plaintiffs Cindy Harrison

and Kelli Sellers without prejudice.

       Pursuant to 29 U.S.C. § 216(b), Harrison filed her consent to join this case on March 9,

2020, and Sellers filed her consent to join this case on October 15, 2019. ECF Nos. 76 and 50.

The Parties now jointly submit this stipulation of dismissal voluntarily dismissing without

prejudice Plaintiffs Cindy Harrison and Kelli Sellers from the above-captioned lawsuit. The

Parties understand that this stipulation is self-executing and requires no further action by this

Court. See Fed. R. Civ. P. 41(a)(1)(A)(ii); Exact Software N. Am., Inc. v. DeMoisey, 718 F.3d 535,

540 (6th Circ. 2013) (“Rule 41(a)(1)(A)(ii) orders, generally speaking, are self-executing and do

not require judicial approval.” (internal quotation marks and citation omitted)).
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       Respectfully submitted on this 12th day of December, 2022.


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